                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                            W ESTERN DIVISION



JASON EDWIN DEVORE,                        Case No. CV 18-08894-JAK (DFM)

          Petitioner,                      Order Accepting Report and
                                           Recommendation of United States
             v.                            Magistrate Judge

THE PEOPLE OF THE STATE OF
CALIFORNIA,

          Respondent.



      Under 28 U.S.C. § 636, the Court has reviewed the Petition, the other
records on file herein, and the Report and Recommendation of the United
States Magistrate Judge. Petitioner did not file any objections by the deadline.
The Court accepts the report, findings, and recommendations of the Magistrate
Judge.
      IT IS THEREFORE ORDERED that Judgment be entered denying the
Petition and dismissing this action with prejudice.



Date: October 21, 2020                      ___________________________
                                            JOHN A. KRONSTADT
                                            United States District Judge
